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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

  Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGNER, and
  ASHLEIGH OLDS,

  Defendants.

                                     MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

        It is hereby ORDERED that plaintiffs’ Unopposed Motion to Modify Scheduling
  Order (Docket No. 44) is GRANTED. The Scheduling Order (Docket No. 34) is
  amended as follows:

          Discovery cutoff: October 31, 2014;
          Dispositive motion deadline: December 1, 2014.

        It is FURTHER ORDERED that the Final Pretrial Conference set for November
  25, 2014 at 10:00 a.m. is VACATED. The Final Pretrial Conference is RESET for
  January 26, 2015 at 9:30 a.m. The proposed pretrial order shall be filed on or before
  January 20, 2015.

  Date: August 20, 2014
